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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION


 UNITED STATES OF AMERICA                        )
                                                 )
 v.                                              )   CIVIL NO. 07-0425-WS
                                                 )
 LEONARD EDWARD WESTRY,                          )   CRIMINAL NO. 05-0206-WS
                                                 )
        Petitioner.                              )


                                          JUDGMENT

        In accordance with the Order entered on this date, denying petitioner’s Motion Under 28
 U.S.C. § 2255 to Vacate, Set Aside or Correct Sentence by a Person in Federal Custody (doc.
 723), it is ordered, adjudged and decreed that this § 2255 action be, and the same hereby is,
 dismissed with prejudice.


        DONE and ORDERED this 2nd day of November, 2007.


                                                     s/ WILLIAM H. STEELE
                                                     UNITED STATES DISTRICT JUDGE
